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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


 CARLOS G. VILLARREAL,
                                                             CIVIL COMPLAINT
              Plaintiff,

 v.                                                       CASE NO. 5:20-cv-01074

 SARMA COLLECTIONS, INC.,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes CARLOS G. VILLARREAL (“Plaintiff”), by and through the undersigned,

complaining as to the conduct of SARMA COLLECTIONS, INC. (“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., and the Texas Debt Collection Act (“TDCA”) under

Tex. Fin. Code Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant resides within,

conducts business within, and a substantial portion of the events or omissions giving rise to the

claims occurred within, the Western District of Texas.



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                                              PARTIES

   4. Plaintiff is a natural “person,” as defined by 47 U.S.C. §153(39), over 18 years of age.

   5. Defendant is a collection agency that provides third party debt collection services to

creditors from a variety of industries. Defendant is a corporation organized under the laws of the

state of Texas with its principal place of business located at 555 East Ramsey Road, San Antonio,

Texas.

   6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   8.    The instant action stems from Defendant’s attempt to collect upon a debt (“subject debt”)

Plaintiff is alleged to owe Economy Finance Co. (“Economy”).

   9.    Plaintiff incurred the obligation from Economy for his personal purposes.

   10. On or about August 24, 2020, Defendant sent or caused to be sent to Plaintiff a collection

letter attempting to collect upon the subject debt.

   11. Defendant’s collection letter compelled Plaintiff to make full payment on the subject debt,

said to total approximately $737.00, further providing Plaintiff with various options of how he

could go about paying the subject debt.

   12. Plaintiff became confused by Defendant’s collection letter, as he believed he did not owe

the subject debt.

   13. Specifically, the subject debt was resolved through a prior confidential agreement.




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   14. Plaintiff was concerned and confused by Defendant’s collection letter, as he was falsely,

deceptively, and misleadingly led to believe he still owed the subject debt, when in fact he did not.

   15. Defendant’s collection letter thus falsely, deceptively, misleadingly, and unfairly

attempted to collect a debt from Plaintiff, despite Plaintiff’s complete lack of obligation in

connection with the debt serving as the basis of Defendant’s collection efforts.

   16. Frustrated over Defendant’s conduct, Plaintiff spent time conferring with counsel

regarding Defendant’s collection efforts, resulting in lost time.

   17. Plaintiff has suffered concrete harm as a result of Defendant’s conduct, including but not

limited to emotional distress stemming from being sought after in connection with a debt he does

not owe, aggravation believing that he still owed a debt despite his lack of obligation thereon, as

a well as violations of his state and federally protected interests to be free from deceptive and

misleading debt collection communications.


           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   18. Plaintiff repeats and realleges paragraphs 1 through 17 as though fully set forth herein.

   19. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   20. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   21. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others.

   22. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

        a. Violations of FDCPA § 1692e

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   23. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   24. In addition, this section enumerates specific violations, such as:

           “The false representation of . . . the character, amount, or legal status of any debt
           . . . .” 15 U.S.C. § 1692e(2)(A).

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   25. Defendant violated § 1692e, e(2), and e(10) when it attempted to collect upon a debt which

Plaintiff does not owe. It was a false representation as to the character of the subject debt to suggest

that Plaintiff owed the debt, even though he did not. Plaintiff was harmed by Defendant’s false

representations as he was led to believe he still owed the subject debt and was being actively sought

after by a collection agency, when in fact he had no remaining obligation in connection with the

subject debt.

         b. Violations of FDCPA § 1692f

   26. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f(1) further

prohibits “[a]ttempt[s] to collect any amount not authorized by the agreement creating the debt or

permitted by law.”

   27. Defendant further violated § 1692f and f(1) when it unfairly and unconscionably attempted

to collect on a debt that Plaintiff does not owe. Defendant’s collection efforts were unlawful and

unsupported by any contractual provision, underscoring Defendant’s unfair and unconscionable

attempts to collect a debt from an innocent consumer.




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   WHEREFORE, Plaintiff, CARLOS G. VILLARREAL, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

                COUNT II – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   28. Plaintiff restates and realleges paragraphs 1 through 27 as though fully set forth herein.

   29. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   30. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).

   31. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.304

   32. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.304(8), prohibits a debt collector from

“misrepresenting the character, extent, or amount of a consumer debt . . .” The TDCA, under Tex.

Fin. Code Ann. § 392.304(19), further prohibits a debt collector from “using any other false

representation or deceptive means to collect a debt . . . .”




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   33. Defendant violated the above referenced portions of the TDCA when it attempted to collect

upon a debt which Plaintiff does not owe. Through its collection letter, Defendant misrepresented

the character, extent, and amount of Plaintiff’s purported obligation on the subject debt. Such

conduct similarly constitutes the utilization of false representations and deceptive means made

during Defendant’s attempts to collect upon a debt.

   WHEREFORE, Plaintiff, CARLOS G. VILLARREAL, respectfully requests that this

Honorable Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: September 10, 2020                             Respectfully submitted,

                                                      s/ Nathan C. Volheim
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